UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

CASE NO, 3:17-cv-149-FDW-DCK

CARLSON ENVIRONMENTAL
CONSULTANTS, PC,

Plaintiff, AFFIDAVIT OF YUHUA MA
v.

SEAN SLAYTON,

Defendant.

I, Yuhua Ma, being duly sworn, depose and state the following:

i I am over the age of 18 and otherwise competent to make this affidavit. The
statements made in this affidavit are based on my personal knowledge, unless otherwise
indicated upon information and belief.

2. I am employed as a Senior Accountant for Weaver Consultants Group and related
entities. As such, I am familiar with the payroll records of Landmare Environmental Systems,
LLC.

a ] tabulated the number of hours Sean Slayton billed to Landmarc clients from
January 16, 2017 through and including August 31, 2017. The results are set forth in table
format on the next page. The attached chart accurately depicts the information contained in

Landmarc’s records, with the percentages rounded to whole numbers.

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_ client. 3) 2 employes. — Name [| Hours | ~~
Republic Services, Inc. 2639 Slayton, Sean 920.00 75.2%
Advanced Disposal 2639 Slayton, Sean 24.00 2.0%
The City of Amarillo 2639 Slayton, Sean 192.00 15.7%
BEL Environmental, LLC 2639 Slayton, Sean 56.00 4.6%
Clark Floyd Landfill LLC 2639 Slayton, Sean 32.00 2.6%

1,224.00 100.0%

This the 13" day of September, 2017.

STATE OF ILLINOIS

COOK COUNTY

, Paaewke Ktczime_, a Notary Public do hereby certify that YUHUA MA,
persohally appeared before me this day and acknowledged the due execution of the foregoing

Affidavit.

WITNESS my hand and official seal, this the 137 day of September, 2017.

here hee. Micron
Notary Public

ACOTFICIAL SEAL

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My Commission Expires: 9° Ld d, / Lore HY CoM See, SATE OF ILLINOIS ;

MY COMMISSION Exp RES:06/24/1g

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Attachment to Affidavit of Yuhua Ma

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Sean Slayton Work at Landmarc by Client
From January 16, 2017 Through August 31, 2017
(percentages rounded)

@ Republic--Pursuant to Master Supplier Agreement
1/1/2016--1/1/2019

@ City of Amarillo--CEC did not bid

® BEL Environmental--Subcontract--CEC not asked to quote

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@ Clark Floyd Landfill--CEC not asked to quote

™ Advanced Disposal--CEC not asked to quote

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